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AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                                  for the
                                                      Western District
                                                   __________ District of
                                                                       of Texas
                                                                          __________

                  United States of America                           )
                             v.                                      )
                  MARK ELLIOT STOOL
                                                                     )      Case No. 22-MJ-897
                   (DOB: 10/31/1956 )                                )
                                                                     )
                                                                     )
                                                                     )
                          Defendant(s)


                                                   CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                 FEBRUARY 26, 2022                in the county of               BEXAR              in the
    WESTERN            District of             TEXAS             , the defendant(s) violated:

            Code Section                                                       Offense Description
841(a)(1) & 841(b)(1)(C)                          Distribution of Fentanyl resulting in Death (20 year minimum to Life
                                                  maximum)




         This criminal complaint is based on these facts:
See attached affidavit




         ✔ Continued on the attached sheet.
         ’


                                                                                                Complainant’s signature

                                                                                          DEA TFO Hunter Westbrook
                                                                                                 Printed name and title
            telephonically and signed electronically.
Sworn to before me and signed in my presence.


Date:         June 11, 2022
                                                                                                   Judge’s signature

City and state:                         San Antonio, Texas                            Honorable Judge Henry J. Bemporad
                                                                                                 Printed name and title



        Print                        Save As...                   Attach                                                  Reset
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UNITED STATES OF AMERICA

V

STOOL, Mark Elliot (DOB: 10/31/1956)



1. I am a Police Officer with the University of Texas San Antonio Police Department where

    I have been commissioned for approximately three years. I have been a Texas Peace officer

    since 2012 and have been assigned to the DEA, San Antonio District Office located in San

    Antonio, Texas since January 2017. I am currently assigned as a Task Force Officer to the

    DEA San Antonio District Office in San Antonio, Texas. I have participated in numerous

    narcotics investigations. I am familiar with the ways in which drug traffickers conduct

    their business, including, but not limited to, their methods of importing, concealing,

    packaging, diluting (cutting) and distributing controlled substances, their use of cellular

    telephone and short message service (SMS) / text message, and their use of code words to

    conduct their illegal activities. I know how drug traffickers collect, transport, secrete and

    launder proceeds derived from drug distribution. I am familiar with the documents

    generated through all of these illegal activities. I have executed numerous search warrants

    in my career.

2. Since May of 2022, DEA San Antonio and the San Antonio Police Department have been

    investigated the Mark STOOL DTO that is responsible for the distribution of fentanyl and

    Methamphetamine in San Antonio, TX. During the course of this investigation, agents have

    learned of multiple individuals who have overdosed on fentanyl, methamphetamine, and

    heroin at STOOL’s residence.
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3. On February 26, 2022, San Antonio Police Officers were dispatched to 1351 Lockhill

   Selma, San Antonio, Texas, for an overdose resulting in death. Upon arrival, officers

   contacted Mark STOOL inside the residence. The deceased male, J.L. (DOB: 11/26/1956),

   was lying on the floor of STOOL’S living room. STOOL advised officers that he and J.L.

   were ingesting methamphetamine that morning, fell asleep and when STOOL awoke, J.L.

   was unresponsive. STOOL then contacted law enforcement. The Bexar County Medical

   Examiner arrived on scene and while processing the deceased, recovered a clear sandwich

   baggie containing a white crystalline substance. Another small baggie containing a white

   crystalline substance was recovered from the floor near the deceased. The baggies were

   recovered from the scene.

4. Agents took possession of the baggies containing the crystalline substances that were

   recovered from STOOL’S residence on February 26, 2022, the date of the fatal overdose

   of J.L. A field test was conducted on the crystalline substances in both bags and all tested

   positive for methamphetamine and fentanyl.

5. An autopsy was began on J.L. by the Bexar County Medical Examiner on February 26,

   2022. The toxicology report stated J.L. had methamphetamine and fentanyl in his system

   at the time of death. A copy of the final Medical Examiner’s report was obtained. The final

   report lists J.L. dying as a result of toxic effects of methamphetamine and fentanyl.

6. On June 10, 2022, Agents were conducting surveillance at 1351 Lockhill Selma, San

   Antonio, Texas, Mark STOOL’S known address. During surveillance, Agents observed

   STOOL depart the location in a black Tesla bearing Texas License Plate PSM9405 and

   registered to Mark STOOL at 1351 Lockhill Selma, San Antonio, Texas. Agents

   maintained mobile surveillance on STOOL. Agents observed STOOL turn southeast onto
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   Lockhill Selma without utilizing a turn signal and travel south towards Blanco Rd. STOOL

   stopped at the red signal light at the intersection of Blanco Rd and Lockhill Selma. Agents

   observed STOOL stop inside the cross walk at the intersection. When the light turned

   green, STOOL proceeded onto Isom Rd towards San Pedro Ave. Agents observed STOOL

   turn north on San Pedro Ave without utilizing a turn signal. Agents relayed these traffic

   violations to uniformed patrol officers in marked patrol vehicles. The uniformed officers

   conducted a traffic stop on STOOL for the said traffic violation and STOOL pulled into

   the Whataburger parking lot located at W. Ramsey and San Pedro Ave. Officers contacted

   STOOL who is sitting in the front driver’s seat of the vehicle. Upon making contact, the

   officer observed protruding from his left front pants pocket as if it was not fully pushed

   into the pocket what appeared to be a plastic baggie sticking out from a black zippered

   pouch. Officers could see what appeared to be a crystalline substance in the clear baggie.

   Officers asked STOOL to step out of the vehicle. STOOL was detained and a search of his

   person was conducted. The baggie sticking out of the zippered pouch was removed from

   hanging out of STOOL’s pocket. The baggie contained a white crystalline substance, which

   the officers knew to be consistent with methamphetamine. Officers then recovered another

   plastic baggie with a white powdery substance, consistent with that of cocaine. A small

   white baggie that contained a white powdery substance was found inside STOOL’S wallet.

   The baggies that were recovered were consistent in style and size as those recovered from

   the scene of the fatal overdose of J.L. on February 26, 2022, at STOOL’S residence.

7. Officers read STOOL his Miranda Warnings and post Miranda STOOL admitted to the

   possession of the narcotics. STOOL advised officers that the narcotics were cocaine and

   methamphetamine. STOOL advised officers that he left his residence at 1351 Lockhill
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   Selma and was going to Whataburger. Officers asked STOOL if he would be willing to

   speak to a narcotics detective and he stated yes. Agents arrived on scene and asked STOOL

   if he had been read his Miranda Warnings and if he understood the warnings, to which he

   replied yes to both. Agents asked STOOL why he was arrested and he stated he left his

   residence and was going to Whataburger when he was stopped by law enforcement. He

   stated he had approximately 24 grams of methamphetamine on his person, along with a

   quarter ounce of cocaine. Agents asked STOOL why he would carry the narcotics with him

   to Whataburger and he stated he had a friend at his house and he did not want his friend to

   steal the narcotics. STOOL admitted to Agents that he is a distributor of narcotics and

   possibly had a few more grams of methamphetamine at his residence. Agents asked for

   consent to search STOOL’S cellular phone and his residence, to which he gave verbal and

   written consent for both.

8. Agents and officers relocated to 1351 Lockhill Selma, San Antonio, TX, which is located

   in the Western District of Texas, with STOOL. Agents entered the residence through an

   unlocked door with STOOL and STOOL showed Agents where the narcotics would be

   inside his room. Agents collected two baggies of what appeared to be methamphetamine

   from inside the residence. STOOL showed Agents a safe in a closet in his bedroom and

   provided Agents with the key. The safe was opened and Agents recovered a Texas Driver’s

   License belonging to a male, J.L. Agents asked who J.L. was and STOOL stated J.L. was

   a friend that fatally overdosed in February of 2022 in STOOL’S bedroom. STOOL stated

   he gave J.L. methamphetamine and shortly thereafter J.L. died. After Agents finished the

   search at STOOL’S residence, STOOL was transported to the Castle Hills Police

   Department, located within Bexar County, Texas.
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9. Agents conducted an interview of STOOL at the station. Prior to the interview, Agents

   asked STOOL if he remembered the Miranda Warnings and STOOL stated yes. At one

   point during the interview STOOL mentioned the Miranda Warnings again and Agents

   reminded STOOL that he did not have to speak to Agents if he did not wish to. STOOL

   continued to speak with Agents. STOOL advised Agents that he is a distributor of cocaine

   and methamphetamine and that up to about three weeks ago he also distributed fentanyl.

   Agents asked STOOL to go over the death of J.L. again. STOOL advised Agents once

   again that J.L. was a friend and that on the day of his death STOOL sold J.L. what STOOL

   stated was methamphetamine. STOOL stated he and J.L. both ingested the same

   methamphetamine that STOOL provided J.L.. They both then fell asleep after ingesting the

   substance STOOL provided, and when STOOL woke up later that afternoon, J.L. appeared

   to still be asleep and unresponsive. STOOL then left the residence and when he returned

   J.L. was in the same position he was in when STOOL departed but had turned grey. It was

   at this time STOOL realized J.L. was not unresponsive but deceased, and contacted the

   authorities, who pronounced J.L. dead at the scene.

10. Agents asked STOOL if he knew of any other deaths related to narcotics that he, himself,

   had distributed to the user. STOOL stated yes and proceeded to advise Agents of two

   additional deaths, including one involving a female, J.M. (DOB: 11/25/1996) in March of

   2022, one involving a male, A.H. (DOB: 6/15/1956) in August of 2021, and one additional

   overdose that did not result in death due to the use of Narcan involving a female, M.M.

   (DOB: 3/18/1999) in January of 2022.

11. At the end of the recorded interview, the defendant further asked “So does this make me

   guilty of manslaughter?” When agents did not answer affirmatively that STOOL’s actions
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were in fact manslaughter, defendant stated, “yeah it is.” The interview was subsequently

terminated and STOOL was transported to the Bexar County Jail, where he was booked

without incident for the narcotics that were found in his possession during the traffic stop,

and where he is currently being held.


      SWORN telephonically before me by DEA TFO Hunter Westbrook on June 11, 2022.




                              ____________________________
                              HENRY J. BEMPORAD
                              UNITED STATES MAGISTRATE JUDGE
